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                             UNITED STATES DISTRICT COURT
  9
                            CENTRAL DISTRICT OF CALIFORNIA
 10
 11   IRENA SCHAR, an individual,                   Case No. 2:20-cv-01196-JAK (GJSx)
 12                       Plaintiff,                JUDGMENT
 13                 v.
 14
      BMW OF NORTH AMERICA, INC.,
 15   a Corporation; DOES 1 through 50,
 16   inclusive,

 17                       Defendants.
 18
 19         Based on a review of Defendant BMW of North America, LLC’s Rule 68
 20   Offer of Judgment (the “Offer of Judgment” (Dkt. 19)), judgment is entered as
 21   follows:
 22         1. Judgment is entered in favor of Plaintiff Irena Schar (“Plaintiff”) and
 23              against Defendant BMW of North America, LLC (“BMW NA”).
 24         2. BMW NA will pay Plaintiff the sum of fifteen thousand dollars ($15,000),
 25              which includes Plaintiff’s costs, expenses, and attorney’s fees.
 26         3. Plaintiff will file a Request for Dismissal of the entire action, with
 27              prejudice, within five business days after receiving all payments from
 28              BMW NA due Plaintiff and Plaintiff’s counsel and those payments
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  1            clearing the normal banking cycle.
  2         4. The Court will retain jurisdiction to enforce this Judgment under Fed. R.
  3            Civ. P. 41(a).
  4
  5         IT IS SO ORDERED.
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  7   Dated: September 18, 2020
                                            John A. Kronstadt
  8                                         United States District Judge
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